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                                                No. 13-658C
                                          (Filed: January 3,2014)               FILED
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                                                                             U.S. C\JIJRT OF
WAYNERICKERT,                                                               FEDERAL CLAIMS

                                 Plaintffi



THE TINITED STATES,

                                 Defendant.

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                                                   ORDER

        Plaintiff, appearing pro se, filed a complaint and a motion for leave to
proceed informa pauperrs on November 12,2013.' Mr. Rickert alleges that
he lost considerable amounts ofmoney due to embezzlement by the presidents
of two private banks in 1989 and 2006. He alleges that he has been trying to
recoup those funds from the federal govemment since 2000. As a result of this
alleged loss, according to plaintiff, he has lost his drivers license, beenjailed
for failure to pay child support, and generally been impoverished. Plaintiff
"prays that stiffer laws be imposed against banks that steal money" and asks
for $15,000,000. Compl. fl 12. Defendant filed a motion to dismiss for lack
ofjurisdiction. Plaintiff s response was due on December 12,,2013. Plaintiff
has not responded to that motion.

        Jurisdiction is a threshold matter. See SteelCo.v. Citizensfor a Better
Env' t, 523 U.S. 83, 94-95 ( 1 998). The court may raise the issue sua sponte at
any time. Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004).
Although plaintiff is appearing pro se, and pro se litigants are afforded
latitude, that cannot excuse jurisdictional failings. See Kelly v. U.S. Sec'y of



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    For good cause shown, we grant the motion to proceed in forma pauperis.
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Dep't of Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987) ("a court may not
similarly take a liberal view of that jurisdictional requirement and set a
different rule for pro se litigants only"). It is unnecessary to wait for a
response to the motion to dismiss because it is clear on the face of the
complaint that we lack jurisdiction over any claims that plaintiff s complaint
might give rise to.

        This court has jurisdiction primarily over claims "against the United
States founded either upon the Constitution, or any Act of Congress or any
regulation ofan executive department, or upon any express or implied contract
with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort." 28 U.S.C. g l49t(a) (2006). What this means is that a
plaintiff must either claim a breach ofcontract by the United States, or identifu
a constitutional provision, statute, or regulation which mandates that plaintiff
be paid money by the federal govemment. See lJnited States v. Testan, 424
u.s. 392, 398 (1976).

       Although alleging in a general sense a duty on the part of the United
States to better protect citizens against loss from the malfeasance ofbanks and
bank presidents, plaintiffhas not alleged a claim grounded in a right to recover
money from the federal govemment. To the extent that plaintiff alleges a civil
rights violation, see Compl. ,!f I I , and assuming that plaintiff properly asserted
such a claim, we note that such claims belong in the district courts. See, e.g.,
Willis v. United States,96 Fed. CL 467, a70 Q}Il); Hernandez v. United
States,93 Fed. Cl. 193,197-99 (2010).

       In short, this court   lacks jurisdiction over any claims raised by
plaintiff s complaint. Accordingly, the complaint must be dismissed for lack
ofjurisdiction. Defendant's motion to dismiss is granted. The Clerk of Court
is directed to dismiss the complaint without prejudice. No costs.




                                     ERIC G. BRUGGINK
                                     Judge
